Case 4:11-cr-40037-SOH        Document 1295  Filed 12/19/13            Page 1 of 1 PageID #:
                                        4365



                        IN THE UNITED STATE DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF


VS.                             CASE NO. 4:11-CR-40037-005


TERREAL DUKE                                                                      DEFENDANT


                                          ORDER

       Before the Court is a Motion to Dismiss Indictment Without Prejudice filed by the United

States of America. (ECF No. 1294). Pursuant to Fed. R. Crim. P. 48(a), the United States moves

the Court to dismiss the Indictment as to Defendant Terreal Duke, only, as to Counts 1 and 14.

Accordingly, the Indictment as to Defendant Terreal Duke, only, as to Counts 1 and 14 is

DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 19th day of December, 2013.



                                                   /s/ Susan O. Hickey
                                                   Susan O. Hickey
                                                   United States District Judge
